Case 1:22-cr-00185-JDB Document 89 Filed 03/10/23 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA

V. Criminal Action No. 22-185 (JDB)

YVONNE ST. CYR,
Defendant.

 

 

 

 

RESPONSE TO JURY NOTE

The jury has submitted a note making the following request:
We would like to get a transcript of the defendant’s testimony.
The answer to this request is:

Transcripts are not prepared contemporaneously and are not available to the jury during

deliberations. The jury should rely on its recollections of all the testimony.

Date: 3/20 [2 fs ED, DS Mil

|” JOHN D. BATES

Time: x 52° Dm United States District Judge

 

 
